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AQ 442 (Rev VIEL) Arrest Warrant

UNITED STATES DISTRICT COURT

for the

Northern District of New York

United States of America

 

v. )
CALVIN BAUTISTA )  CaseNo. BiQA-CL- Ad (LEK)
)
)
)
)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer
YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Calvin Bautista
who is accused of an offense or violation based on the following document filed with the court:

@ Indictment O Superseding Indictment 0 Information O Superseding Information © Complaint

4 Probation Violation Petition 1 Supervised Release Violation Petition O Violation Notice Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 545 [Smuggling Goods Into the United States]

CL WL?

Issuing officer's signature

Date: 08/22/2022

 

City and state: _ Albany, New York ee Hon. Christian F. Hummel

Printed name and title

 

 

Return

 

 

This warrant was received on (dae) O8/25]2022. and the person was arrested on (date) —poloy|zer.
al (city and state) ALBANY | NY :

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slrresting officer's signature
& ig

__JoHN THomPmn) SPECIAL AGENT

Printed name and title

 

 

 
